      Case 3:20-cv-05910-LB             Document 17-13     Filed 08/28/20     Page 1 of 5




 1 MICHAEL W. BIEN – 096891
   VAN SWEARINGEN – 259809
 2 ALEXANDER GOURSE – 321631
   AMY XU – 330707
 3 ROSEN BIEN GALVAN & GRUNFELD LLP
   101 Mission Street, Sixth Floor
 4 San Francisco, California 94105-1738
   Telephone: (415) 433-6830
 5 Facsimile: (415) 433-7104
   Email:       mbien@rbgg.com
 6              vswearingen@rbgg.com
                agourse@rbgg.com
 7              axu@rbgg.com
 8 KELIANG (CLAY) ZHU – 305509
   DEHENG LAW OFFICES PC
 9 7901 Stoneridge Drive #208
   Pleasanton, California 94588
10 Telephone: (925) 399-5856
   Facsimile: (925) 397-1976
11 Email:       czhu@dehengsv.com
12 ANGUS F. NI (admitted Pro Hac Vice)
   AFN LAW PLLC
13 502 Second Avenue, Suite 1400
   Seattle, Washington 98104
14 Telephone: (773) 543-3223
   Email:       angus@afnlegal.com
15
16 Attorneys for Plaintiffs
17
18                                   UNITED STATES DISTRICT COURT
19                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
20 U.S. WECHAT USERS ALLIANCE,                           Case No. 3:20-cv-05910-LB
   CHIHUO INC., BRENT COULTER,
21 FANGYI DUAN, JINNENG BAO,                             [PROPOSED] ORDER GRANTING
   ELAINE PENG, and XIAO ZHANG,                          PLAINTIFFS’ MOTION FOR
22                                                       PRELIMINARY INJUNCTION
             Plaintiffs,
23       v.                                              Judge: Hon. Laurel Beeler
                                                         Date: September 17, 2020
24 DONALD J. TRUMP, in his official                      Time: 9:30 a.m.
   capacity as President of the United States,           Crtrm.: Remote
25 and WILBUR ROSS, in his official
   capacity as Secretary of Commerce,                    Trial Date:        None Set
26
                 Defendants.
27
28

     [3605284.2]                                                            Case No. 3:20-cv-05910-LB
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:20-cv-05910-LB             Document 17-13      Filed 08/28/20    Page 2 of 5




 1                 On August 28, 2020, Plaintiffs filed a Motion for Preliminary Injunction seeking to
 2 enjoin Defendants from enforcing Sections 1(a), 2(a), and 2(b) of Executive Order 13943.
 3 The Court has considered Plaintiffs’ Motion and Reply, the Declarations and evidence,
 4 and Plaintiffs’ Complaint for Declaratory and Injunctive Relief, as well as Defendants’
 5 Opposition, Declarations and evidence, and the arguments of counsel provided at the
 6 hearing held on September 17, 2020 at 9:30 a.m. Having considered the foregoing, the
 7 Court hereby finds and concludes as follows.
 8                                 Findings of Fact and Conclusions of Law
 9                 1.     On August 6, 2020, President Donald J. Trump issued Executive Order
10 13943. Invoking the International Economic Emergency Powers Act (“IEEPA”),
11 Executive Order 13943 (the “Executive Order”) purports to prohibit “any transactions
12 related to WeChat” or its parent company, Tencent Holdings Ltd. Executive Order also
13 purports to prohibit any transaction “by a United States person or within the United States”
14 that evades, avoids, or violates this uncertain prohibition. Although the Executive Order
15 also states that the Secretary of Commerce shall identify what transactions are prohibited
16 by the Executive Order, it directs the Secretary to provide this clarification on the same
17 day that the prohibition itself takes effect—effectively delaying reasonable notice of what
18 conduct the Executive Order prohibits until after that conduct is already prohibited. The
19 effective date is 45 days after the Executive Order was issued, September 20, 2020.
20                 2.     WeChat is the dominant social media app among Chinese-speaking persons
21 throughout the world. The app has become an essential means of communication for
22 Chinese-speaking persons in the United States. The Plaintiffs in this case rely on WeChat
23 for family, social, civic, charitable, political, business and religious purposes, and use it to
24 read, publish, and comment on news and events, to share photos and videos, to organize
25 groups and activities, to communicate by speech and video, to store and manage personal,
26 business and organizational records, and to transfer documents, information and monetary
27 payments.
28

     [3605284.2]                                      1                     Case No. 3:20-cv-05910-LB
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:20-cv-05910-LB              Document 17-13       Filed 08/28/20     Page 3 of 5




 1                 3.     By its terms, the Executive Order appears to ban all use of WeChat by
 2 anyone in the United States and by “United States persons” abroad. Although the
 3 Executive Order asserts that such a broad prohibition on the use of WeChat is necessary
 4 for American national security, neither the President nor anyone in his administration has
 5 presented evidence of a bona fide national security threat related to Plaintiffs’ use of
 6 WeChat.
 7                 4.     Plaintiffs’ contend that Executive Order is unconstitutionally vague and
 8 overbroad under the First and Fifth Amendments to the U.S. Constitution; that the
 9 Executive Order is an unlawful content-based restriction of speech that is not narrowly
10 tailored to serve compelling state interests; and that the Executive Order is ultra vires.
11                 5.     The Court may issue a preliminary injunction where a plaintiff shows “(1)
12 they are likely to succeed on the merits, (2) they are likely to ‘suffer irreparable harm’
13 without relief, (3) the balance of equities tips in their favor, and (4) an injunction is in the
14 public interest.” East Bay Sanctuary Covenant v. Barr, 964 F.3d 832, 844 (9th Cir. 2020)
15 (citations omitted). The third and fourth factors merge where, as here, the government is
16 the opposing party. Nken v. Holder, 556 U.S. 418, 435 (2009).
17                 6.     I find that Plaintiffs are likely to succeed on the merits of their challenges to
18 the Executive Order. The scope of the Executive Order is unprecedented and is facially
19 overbroad. The Executive Order lacks definitions of key terms, thereby depriving
20 Plaintiffs and other parties subject to the Executive Order of adequate notice of what it
21 actually prohibits. The vagueness of the Executive Order is likely to lead to selective and
22 discriminatory enforcement, and represents an unlawful content-based restriction on
23 speech that is not narrowly tailored to serve compelling state interests. Finally, the
24 Executive Order is ultra vires because the IEEPA expressly forbids the President from
25 issuing such a broad prohibition on personal communications and the exchange of
26 information and informational materials.
27                 7.     Plaintiffs have established that they have and will continue to suffer
28 irreparable injury in the absence of preliminary relief, because the vagueness and over

     [3605284.2]                                      2                     Case No. 3:20-cv-05910-LB
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:20-cv-05910-LB              Document 17-13       Filed 08/28/20     Page 4 of 5




 1 breadth of the Executive Order, paired with the looming threat of civil and criminal
 2 penalties authorized by 50 U.S.C. § 1705, is already forcing them to expend time and
 3 resources searching for alternative ways of communicating with family, friends,
 4 professional contacts, customers, and political and religious associates. These harms are
 5 ongoing and substantial, and they will be addressed by preliminary injunctive relief.
 6                 8.     Plaintiffs have established that the balance of the equities tips sharply in
 7 favor of a preliminary injunction. Plaintiffs and the public generally have a strong interest
 8 in exercising their rights under the First and Fifth Amendments, and in ensuring that
 9 Congress’s duly enacted statutes “are not imperiled by executive fiat.” East Bay Sanctuary
10 Covenant v. Trump, 950 F.3d 1242, 1281 (9th Cir. 2020). Likewise, the public interest
11 favors preservation of the status quo. Doe #1 v. Trump, 957 F.3d 1050, 1068 (9th Cir.
12 2020).
13                 9.     Because Plaintiffs have demonstrated each required element, they have
14 established that preliminary injunctive relief is warranted.
15                 10.    Pursuant to Federal Rule of Civil Procedure 65(c), the Court finds in its
16 discretion that it is not proper to impose any security for the preliminary injunction
17 because of the significant public interest underlying this action. East Bay Sanctuary
18 Covenant v. Trump, 349 F. Supp. 3d 838, 868-69 (N.D. Cal. 2018); Save our Sonoran, Inc.
19 v. Flowers, 408 F.3d 1113, 1126 (9th Cir. 2005); People of State of Cal. ex rel. Van De
20 Kamp v. Tahoe Reg’l Planning Agency, 766 F.2d 1319, 1325 (9th Cir.), as amended, 775
21 F.2d 998 (9th Cir. 1985).
22                 Therefore, IT IS HEREBY ORDERED that
23                 11.    Defendants President Donald J. Trump, in his official capacity, and Secretary
24 of Commerce, Wilbur Ross, in his official capacity, as well as their agents, servants,
25 employees, and all persons acting under their direction, are enjoined, pending final
26 judgment, from enforcing Sections 1(a) and 2(a)-(b) of Executive Order 13943 to directly
27 or indirectly prohibit or limit any use of the WeChat application in the United States or by
28 "United States persons" abroad.

     [3605284.2]                                      3                     Case No. 3:20-cv-05910-LB
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
      Case 3:20-cv-05910-LB             Document 17-13       Filed 08/28/20    Page 5 of 5




 1                 12.    Pending final judgment, the effective date of the prohibitions in Sections 1(a)
 2 and 2(a)-(b) of Executive Order 13943 is stayed until 60 days after the Secretary of
 3 Commerce issues final regulations defining the specific transactions that are prohibited by
 4 these Sections.
 5                 13.    Pending final judgment, Defendants, and each of them, are enjoined from
 6 seeking to impose civil or criminal penalties under 50 U.S.C. § 1705 for any alleged
 7 violation of Executive Order 13943 based on any conduct that occurs (i) before the
 8 Secretary of Commerce promulgates a definition of “transactions” under the Executive
 9 Order, or (ii) within 60 days after the Secretary promulgates that definition.
10
11 DATED: ____________, 2020
                                                      Honorable Laurel Beeler
12                                                    United States Magistrate Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     [3605284.2]                                      4                     Case No. 3:20-cv-05910-LB
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
